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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

FANGMAN, et al., : CASE NO. 1:15-cv-792
Plaintiffs, : Judge Susan J. Dlott
v. : STIPULATION CONCERNING
PROTECTION OF NON-PARTY
EMERY FEDERAL CREDIT UNION, : BORROWER INFORMATION
Defendant.

 

Plaintiffs Gary and Ann Ratcliff, Shelly and Frank Palombaro, Melinda and David
Alvarado, and Kevin and Jennifer McAlIpin (“Plaintiffs”) and Defendant Emery Federal Credit
Union (“Defendant,” and collectively, the “Parties”), by their counsel, stipulate as follows:

le This Stipulation is entered into with reference to the Stipulated Protective Order
for the Protection of Confidential Information (the “Protective Order’) signed by the Court on
March 9, 2016 (Dkt. No. 233).

a The Parties agree to add an additional category of documents and information that
may be designated as Confidential pursuant to the Protective Order. Such documents or
information, to be designated “Highly Confidential,” shall be subject to all of the same
restrictions as are imposed on Confidential documents or information pursuant to the Protective
Order, as well as the additional restrictions listed herein.

5. Documents or information designated as “Highly Confidential” may be shown to
or discussed with the Parties, but may not be left or maintained in the Parties’ possession unless
specifically agreed in writing by the designating Party as to specific documents or information.

Rather, documents or information designated as “Highly Confidential” shall be maintained by
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the Parties’ outside counsel, including vendors retained by outside counsel. Provided, however,
that Emery’s counsel may provide information concerning Emery borrowers’ loans—but not
borrowers of other companies—to Emery personnel who are assisting with the defense of this
Action.

4. The Parties and their counsel may not use the identities of or any non-public
personal information concerning borrowers or consumers who are not parties to this Action,
obtained from documents designated as “Highly Confidential,” for any purpose outside of this
litigation or the Maryland Action, and such documents will not be used to contact or solicit any
such person except by leave of the Court in this Action.

5 It is anticipated that the “Highly Confidential” designation will be used for
documents or information concerning borrowers or consumers who are not parties to this Action.

6. This stipulation is entered into in order to facilitate discovery in this Action and is

made without any waiver by either Party except as expressly set forth herein.

 

 

Dated: October 26, 2016 Respectfully submitted,

/s/ Gregory M. Utter

Gregory M. Utter, Esq., #0032528 /s/ Michael Paul Smith

Keating Muething & Klekamp PLL Michael Paul Smith, Esq., Pro Hac Vice
One East 4" Street, Suite 1400 Smith, Gildea & Schmidt, LLC
Cincinnati, OH 45202 600 Washington Avenue, Suite 200
Phone: (513) 579-6540 Towson, MD 21204

Fax: (513) 579-6457 Phone: (410) 821-0070
gmutter@kmklaw.com Fax: (410) 821-0071

mpsmith@sgs-law.com
/s/ Timothy F. Maloney
Timothy F. Maloney, Esq., Pro Hac Vice Attorneys for Plaintiffs
Joseph, Greenwald & Laake
6404 Ivy Lane, Suite 400
Greenbelt, MD 20770
Phone: (301) 220-2200
Fax: (301) 220-1214
tmaloney@jgllaw.com
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/s/ Michael Y. Kieval /s/ Carolyn A. Taggart

Michael Y. Kieval, Esq., Pro Hac Vice Carolyn A. Taggart, Esq.

Weiner Brodsky Kider, PC Porter Wright Morris & Arthur, LLP
1300 19" Street NW 5" Floor 250 East Fifth Street Suite 2200
Washington, DC 20036 Cincinnati, OH 45202
kieval@thewbkfirm.com CTaggart@porterwright.com

Attorneys for Defendants

SO ORDERED:

Dated: (ol lle Clin X Xthtoh
Karen L. Litkovitz

United States Magistrate Judge

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